Civil action to restrain the sale of a tract of land in Harnett County until the claims of mortgagees, judgment creditors and the plaintiff, who alleges that he has a contract to buy said land, can be determined and adjudicated.
From a judgment overruling a demurrer interposed by the State Bank of McBee upon the ground (1) that the complaint does not state facts sufficient to constitute a cause of action against said defendant, and (2) that there is a misjoinder both of parties and causes of action, the said demurring defendant appeals, assigning error.
Without detailing the allegations of the complaint, which are quite lengthy, we are convinced from a perusal of the record, that the demurrer was properly overruled on both grounds.
Affirmed. *Page 798 